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Marilyn Burgess - District Clerk Harris County
Envelope No. 36999577

By: Tiffany Jefferson

Filed: 9/20/2019 3:19 PM

CAUSE NO. 2019-56368

KAYVON REALTY MANAGEMENT, LP § IN THE DISTRICT COURT OF
Plaintiff, §
§
Vv. § HARRIS COUNTY, TEXAS
§
WESTCHESTER SURPLUS LINES §
INSURANCE COMPANY §
Defendant. § 164" JUDICIAL DISTRICT

DEFENDANT WESTCHESTER SURPLUS LINES INSURANCE COMPANY’S
ANSWER TO PLAINTIFF’S ORIGINAL PETITION

Defendant Westchester Surplus Lines Insurance Company (“Defendant”) files this Answer

to Plaintiff's Original Petition and respectfully shows the court as follows:
I. General Denial

Without denying the existence and contents of the insurance policy in question, and while
fully insisting upon each and every term, provision, condition, exclusion, and all paragraphs
thereof, and to the extent consistent therewith, Defendant files this general denial in accordance
with Rule 92 of the TEXAS RULES OF CIVIL PROCEDURE and denies generally each and
every, all and singular, the allegations contained in Plaintiff's Original Petition and demands strict
proof thereof by a preponderance of the evidence in accordance with the laws of the State of Texas.

II. Conditions Precedent Unsatisfied

Defendant specifically denies that conditions precedent to recovery have been met. As a

result, this suit is premature and its filing may unnecessarily inflate the attorney’s fees and

expenses in connection with this suit.

Ill. Preservation of Rights

Defendant preserves all of its rights under each policy at issue, specifically including the

right to appraisal.
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IV. Policy Defenses

Defendant affirmatively asserts, for each policy made the basis of this lawsuit, the policy’s
terms, conditions, endorsements and exclusions as set forth in each policy, as those respective
terms, conditions, endorsements and exclusions may bar, in whole or in part, Plaintiff’s claims.

V. Offset, Credit, and Limitation of Liability

Pleading further for a separate and complete defense and in the alternative, pursuant to
Rule 94 of the TEXAS RULES OF CIVIL PROCEDURE, Defendant asserts the setoff, credit,
limit of liability, and other insurance limitation provisions contained the TEXAS INSURANCE
CODE and in each policy made the basis of this claim. Defendant is entitled to an offset or credit
against Plaintiff's damages, if any, for monies previously paid under each policy at issue. Further,
Defendant’s liability, if any, is limited to the amount of the policy limits under each subject policy,
pursuant to the “Loss Settlement” and other clauses regarding the limit of liability and payment
for covered losses contained in each policy upon which Plaintiff brings this suit.

VI.‘ Failure to Mitigate

Pleading further for a separate and complete defense and in the alternative, Defendant avers
that Plaintiff has failed to fully and properly mitigate its damages in accordance with law and with
Plaintiff's duties under the policy.

VII. Pre-Existing Damages

Pleading further for a separate and complete defense and in the alternative, Plaintiff's
alleged damages pre-existed the incident complained of and/or were caused by a subsequent
incident, all of which precludes any liability as to Defendant.

VIII. Failure to Make Temporary Repairs
Pleading further for a separate and complete defense and in the alternative, Plaintiff's claim

is barred in whole or in part because the sole proximate cause of some of the damages Plaintiff

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claims are Plaintiff's own inaction and negligence in failing to make temporary repairs or
otherwise protecting the property after the initial loss.
IX. No Breach of Contract
Pleading further for a separate and complete defense and in the alternative, Plaintiff's
causes of action are barred, either in whole or in part, because it has failed to state a claim upon
which relief can be granted. Specifically, Plaintiff failed to describe any particular facts or
circumstances supporting the alleged breach of the insurance contract(s) by Defendant.

X.  Extra-Contractual Claims Barred

 

Pleading further for a separate and complete defense and in the alternative, Plaintiff's
causes of action are further barred, either in whole or in part, because it has failed to state a claim
upon which relief can be granted, with regard to Plaintiff's extra contractual claims. Specifically,
Plaintiff failed to describe particular facts or circumstances that transform alleged contractual
claims into a cause of action for alleged violations of the TEXAS INSURANCE CODE. Plaintiff
failed to allege any specific conduct on the part of Defendant which would subject Defendant to
liability under Chapters 542 or 542A of the TEXAS INSURANCE CODE. Defendant specifically
states it did not, knowingly or otherwise, make any false, fraudulent or negligent
misrepresentations to Plaintiff.

XI. Bona Fide and Legitimate Disputes Exist

Pleading further for a separate and complete defense and in the alternative, bona fide and

legitimate disputes exist precluding Plaintiff's recovery of damages under extra-contractual

theories of liability pursuant to any statutory or common law authority.
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XII. Acts or Omissions of Third Parties
Pleading further for a separate and complete defense and in the alternative, Plaintiff's
damages, if any, were proximately caused by the acts or omissions of third parties over whom
Defendant had no control or right to control and for whom Defendant had no responsibility.
XIII. Superseding /Intervening Cause
Pleading further for a separate and complete defense and in the alternative, the incident and
resulting damages incurred by Plaintiff, if any, which Defendant specifically denies, were the
result of a superseding and/or intervening cause or causes thereby precluding Plaintiff from
recovering any damages against Defendant.
XIV. Limitation of Punitive Damages
Pleading further for a separate and complete defense and in the alternative, punitive
damages awarded, if any, pursuant to TEXAS CIVIL PRACTICE AND REMEDIES CODE
§41.001, et. seq., are subject to the statutory limit set forth therein, other applicable statutory
authority, and common law. Furthermore, any award of punitive damages would violate
Defendant’s due process rights guaranteed by the Fourteenth Amendment to the United States
Constitution and by Section 19 of Article 1 of the Texas Constitution unless Plaintiff proves
Defendant’s liability for punitive damages, and the amount of punitive damages, if any, by clear
and convincing evidence. Defendant respectfully shows regarding any allegations of malice and
exemplary or punitive damages as follows:
(a) Defendant avers the proper clear and convincing burden of proof as to alleged

punitive damages, and for the appropriate definition of gross negligence to be
submitted to the trier of fact, and relies on other statutory limitations afforded to them;

(b) Plaintiff's claims for malice and exemplary or punitive damages is arbitrary,
unreasonable, excessive, and in violation of Defendant’s rights to due process of
law and equal protection under the Fifth and Fourteenth Amendments to the United
States Constitution and under Article 1, Sections 13, 15, and 19 of the Texas
Constitution;
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(c)

(d)

(e)

(f)

(g)

(h)

Plaintiff's claims for malice and punitive or exemplary damages should be proved
beyond a reasonable doubt;

That exemplary or punitive damages cannot be awarded against Defendant because,
in part, Defendant will be placed twice in jeopardy for the same conduct in violation
of the United States and Texas Constitutions;

Plaintiff's claims for malice and exemplary or punitive damages violates the
separation of powers doctrine, since the Court and/or jury would usurp the
exclusive power of the Legislature to define crimes and establish punishment;

Plaintiff's claims for malice and punitive or exemplary damages against Defendant
should be determined only by Defendant’s actual subjective conscious indifference,
the existence of which is denied, and not by any objective conscious indifference;

Plaintiff’s claims for malice and exemplary or punitive damages must be assessed
by the unanimous verdict of all jurors;

Plaintiff's claims for malice and exemplary damages is not based upon a clearly
defined statutory enactment setting forth a specific mens rea and scope and limit of
such awards, and therefore, the standard is unduly vague and does not meet the
requirements of due process;

Defendant is subjected to all the hazards and risks of what amounts to a fine with respect

to the Plaintiffs claims for malice and exemplary or punitive damages, but Defendant received

none of the basic rights accorded to a criminal defendant when being subjected to possible criminal

penalties.

XV.

Defendant hereby reserves all rights to plead further herein.

REQUEST FOR DISCLOSURE

Pursuant to Texas Rules of Civil Procedure 194, Defendant requests that Plaintiff disclose,

within 30 days of the service of this request, the information or material described in Rule I 94.2(a)-

(1).

PRAYER

WHEREFORE, PREMISES CONSIDERED, Defendant Westchester Surplus Lines

Insurance Company respectfully requests judgment of the court as follows:

1.

That the court render a take-nothing judgment against the Plaintiff;
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2. That Defendant recover all costs together with such other specific and general
relief, both at law and in equity, to which Defendant may be justly entitled.

Respectfully submitted,
CHAFFE McCALL LLP

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COUNSEL FOR DEFENDANT

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing instrument was served in
accordance with the TEXAS RULES OF CIVIL PROCEDURE on this the 20° day of September 2019,
to all known counsel of record as follows:

William T. Green, III
WTGreen, PLLC

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/s/ Frank A. Piccolo
Frank A. Piccolo

 
